            Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 1 of 13                                   FILED
                                                                                                   2019 Mar-08 AM 11:14
                                                                                                   U.S. DISTRICT COURT
                                                                                                       N.D. OF ALABAMA


                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ALABAMA
                                   WESTERN DIVISION

 BRENDA PLYLER,                                    )
                                                   )
                  Plaintiff,                       )
                                                   )            Case No.
 v.                                                )
                                                   )
 BOSTON SCIENTIFIC, CORP., and                     )
 JOHN DOE CORPORATIONS 1-50                        )
                                                   )
                  Defendants.                      )
                                                   )
                                                   )


                                            COMPLAINT
         Plaintiff, Brenda Plyler, brings this case against Defendants for injuries suffered as a direct

result of Plaintiff’s implantation of the Obtryx mesh product. Plaintiff alleges as follows:

                                           THE PARTIES

      1. Plaintiff, Brenda Plyler, is a citizen and resident of the state of Alabama.

      2. Boston Scientific Corp. (“Boston Scientific”) is a corporation organized and existing under

         the laws of the State of Delaware with its principal place of business in Massachusetts

      3. Defendant John Doe Corporations 1-50 represent presently unknown designers,

         researchers, developers, manufacturers, marketers, distributors, promoters, suppliers, and

         sellers of the Boston Scientific Obtryx device, which was and is defective and unreasonably

         dangerous to women.

                                   JURISDICTION AND VENUE
      Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 2 of 13



4. Plaintiff brings this complaint under federal diversity jurisdiction, 28 U.S.C. § 1332, as the

   parties are completely diverse in citizenship and the amount in controversy exceeds

   $75,000.

5. Venue is proper under 28 U.S.C. § 1391(b) as a substantial part of the events giving rise to

   this claim occurred in this district.

                              FACTUAL ALLEGATIONS

6. Plaintiff was implanted with a BOSTON SCIENTIFIC Obtryx product during surgery

   performed at St. Vincent’s Hospital in Birmingham, Alabama on September 2, 2016.

7. Following the implantation of the Obtryx, Plaintiff experienced painful complications and

   as a result of those complications, on March 10, 2017, Plaintiff underwent a revision

   surgery to revise the Obtryx mesh.

8. Defendants, at all times material hereto, manufactured the BOSTON SCIENTIFIC Obtryx

   product.

9. The BOSTON SCIENTIFIC Obtryx product was implanted in the Plaintiff to treat her for

   Stress Urinary Incontinence and other symptoms, the use for which the product was

   designed, marketed and sold.

10. As a result of having the BOSTON SCIENTIFIC Obtryx product implanted in her, Plaintiff

   has experienced significant mental and physical pain, disability, suffering, has sustained

   permanent injury, and permanent and substantial physical deformity, has suffered financial

   or economic loss, including, but not limited to obligations for medical services and

   expenses, lost income, and other damages.

11. Plaintiff’s injuries would not have occurred but for the defective nature of the product

   implanted and/or Defendants’ wrongful conduct.

                                             2
     Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 3 of 13



12. Defendants at all times material hereto, was engaged in the business of placing medical

   devices in the stream of commerce by designing, manufacturing, marketing, packaging,

   labeling, and selling such devices, including the BOSTON SCIENTIFIC Obtryx product

   and that which was implanted in the Plaintiff, which gives rise to the Plaintiff’s claims

   asserted herein.

13. Defendants at all times material hereto designed the BOSTON SCIENTIFIC Obtryx

   product, including that which was implanted in the Plaintiff, which gives rise to the

   Plaintiff’s claims asserted herein.

14. Defendants at all times material hereto manufactured the BOSTON SCIENTIFIC Obtryx

   product, including that which was implanted in the Plaintiff, which gives rise to the

   Plaintiff’s claims asserted herein.

15. Defendants at all times material hereto marketed the BOSTON SCIENTIFIC Obtryx

   product through television, print and internet advertising and by sending sales

   representatives throughout the United States and to the State of Alabama to promote the

   sale of the BOSTON SCIENTIFIC Obtryx product, including that which was implanted in

   the Plaintiff.

16. Defendants at all times material hereto packaged the BOSTON SCIENTIFIC Obtryx

   product, including that which was implanted in the Plaintiff.

17. Defendants at all times material hereto labeled the BOSTON SCIENTIFIC Obtryx product

   by placing its name on the outside of the BOSTON SCIENTIFIC Obtryx’s packaging.

18. Defendants at all times material hereto, sold the BOSTON SCIENTIFIC Obtryx product

   throughout the United States, including the State of Alabama.




                                            3
      Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 4 of 13



19. Section 510(k) of the Medical Device Amendment to the Food, Drug and Cosmetics Act

   (“Section 510(k)”) allows the marketing of medical devices of the device is deemed

   substantially equivalent to other legally marketed predicate devices marketed prior to May

   29, 1976.

20. A predicate device is one that the Food and Drug Administration (“FDA”) has placed into

   one of three classification categories and “cleared” for marketing. These regulatory

   classification categories include Class I, Class II, and Class III medical devices.

21. Under Section 510(k), a manufacturer must provide a premarket notification that allows

   the FDA to determine whether the device is substantially equivalent to a predicate device.

22. Under Section 510(k), no formal review for safety or efficacy is required.

23. The BOSTON SCIENTIFIC Obtryx product manufactured by Defendants is considered a

   Class II medical device under the FDA’s medical device regulatory classification system.

24. Defendant sought and obtained the FDA’s approval to market the BOSTON SCIENTIFIC

   Obtryx Exact System product under Section 510(k).

25. Defendants were, or should have been aware, of the dangers inherent in the BOSTON

   SCIENTIFIC Obtryx product generally, notwithstanding the fact that this product was

   “cleared” for sale by the FDA.

26. Contrary to Defendants’ representations and marketing to the medical community

   and to the patients themselves, the Product has high rates of failure, injury, and

   complications, fails to perform as intended, requires frequent and often

   debilitating re-operations, and has caused severe and irreversible injuries,

   conditions, and damage to a significant number of women, including Ms. Plyler,

   making them defective under the law.


                                             4
        Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 5 of 13



27. The specific nature of the Product’s defects includes, but is not limited to, the

   following:

   a.       the use of polypropylene material in the Product and the immune reactions that

            result from such material, causing adverse reactions and injuries;

   b.       the design of the Product to be inserted into and through an area of the body with

            high levels of bacteria that can adhere to the mesh causing immune reactions and

            subsequent tissue breakdown and adverse reactions and injuries;

   c.       biomechanical issues with the design of the Product, including, but not limited to,

            the propensity of the Product to contract or shrink inside the body, that in turn

            cause surrounding tissue to be inflamed, become fibrotic, and contract, resulting

            in injury;

   d.       the inelasticity of the Product, causing them to be improperly mated to the

            delicate and sensitive areas of the vagina and pelvis where they are implanted, and

            causing pain upon normal daily activities that involve movement in the pelvic

            region (e.g., intercourse, defecation, walking); and

   e.       the propensity of the Product for degradation or fragmentation over time, which

            causes a chronic inflammatory and fibrotic reaction, and results in continuing

            injury over time;

   f.       the hyper-inflammatory responses to collagen leading to problems including

            chronic pain and fibrotic reaction;




                                              5
        Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 6 of 13



   g.       the creation of a non-anatomic condition in the pelvis leading to chronic pain and

            functional disabilities when the mesh is implanting according to the

            manufacturers' instructions.

28. The Product is also defective due to Defendants’ failure to adequately warn or instruct

   Ms. Plyler and/or her health care providers of subjects including, but not limited to, the

   following:

   a.       the Product’s propensities to contract, retract, and/or shrink inside the body;

   b.       the Product’s propensities for degradation, fragmentation and/or creep;

   c.       the Product’s inelasticity preventing proper mating with the pelvic floor and

            vaginal region;

   d.       the rate and manner of mesh erosion or extrusion;

   e.       The risk of chronic inflammation resulting from the Product;

   f.       the risk of chronic infections resulting from the Product;

   g.       the risk of permanent vaginal or pelvic scarring as a result of the Product;

   h.       the risk of recurrent, intractable pelvic pain and other pain resulting from the

            Product;

   i.       the need for corrective or revision surgery to adjust or remove the Product;

   j.       the severity of complications that could arise as a result of implantation of the

            Product;

   k.       the hazards associated with the Product;


                                              6
        Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 7 of 13



   l.       the Product’s defects described herein;

   m.       treatment of stress urinary incontinence with the Product is no more effective than

            feasible available alternatives;

   n.       treatment of stress urinary incontinence with the Product exposes patients to

            greater risk than feasible available alternatives;

   o.       treatment of stress urinary incontinence with the Product makes future surgical

            repair more difficult than feasible available alternatives;

   p.       use of the Product puts the patient at greater risk of requiring additional surgery

            than feasible available alternatives;

   q.       removal of the Product due to complications may involve multiple surgeries and

            may significantly impair the patient’s quality of life; and

   r.       complete removal of the Product may not be possible and may not result in

            complete resolution of the complications, including pain.

29. Defendants had underreported information about the propensity of the Product to fail and

   cause injury and complications and have made unfounded representations regarding the

   efficacy and safety of the Product through various means and media.

30. Defendants failed to perform proper and adequate testing and research in order to

   determine and evaluate the risks and benefits of the Product.

31. Defendants failed to design and establish a safe, effective procedure for removal of the

   Product, or to determine if a safe, effective procedure for removal of the Product exists.




                                               7
         Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 8 of 13



   32. Feasible and suitable alternatives to the Product have existed at all times relevant that do

       not present the same frequency or severity of risks as do the Product.

                   CAUSES OF ACTION AGAINST ALL DEFENDANTS

                                           COUNT I
                                         NEGLIGENCE
   33. Plaintiff incorporates by reference paragraph 1-32 of this Complaint as if fully set forth

       herein.

   34. Defendants had a duty to individuals, including Plaintiff, to use reasonable care in

       designing, manufacturing, marketing, labeling, packaging and selling the BOSTON

       SCIENTIFIC Obtryx.

   35. Defendants were negligent in failing to use reasonable care in designing, manufacturing,

       marketing, labeling, packaging, and selling the BOSTON SCIENTIFIC Obtryx.

   36. As a direct and proximate result of Defendants’ negligence, Plaintiff was caused and/or in

       the future will be caused to suffer severe personal injuries, pain, disability and suffering,

       severe emotional distress, financial or economic loss, including, but not limited to,

       obligations for medical services and expenses, lost income, and other damages.

   WHEREFORE, Plaintiff demands judgment against the Defendants for compensatory, treble

and punitive damages, including costs and attorney’s fees, and all such other relief as the Court

may deem proper.

                                       COUNT II
                           STRICT LIABILITY – DESIGN DEFECT
   37. Plaintiff incorporates by reference paragraphs 1-32 of this Complaint as if fully set forth

       herein.

   38. The BOSTON SCIENTIFIC Obtryx product implanted in the Plaintiff was not reasonably

       safe for its intended use and was defective as a matter of law with respect to its design.

                                                 8
         Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 9 of 13



   39. As a direct and proximate result of the BOSTON SCIENTIFIC Obtryx’s aforementioned

       defects, Plaintiff was caused and/or in the future will be caused to suffer severe personal

       injuries, pain, disability and suffering, severe emotional distress, financial or economic

       loss, including, but not limited to, obligation for medical services and expenses, lost

       income, and other damages.

   40. Defendants are strictly liable to Plaintiff for designing, manufacturing, marketing, labeling,

       packaging and selling a defective product.

   Wherefore, Plaintiff demands judgment against the Defendants for compensatory, treble and

punitive damages, including costs and attorney’s fees, and all such other relief as the Court may

deem proper.

                                     COUNT III
                 STRICT PRODUCT LIABILITY – MANUFACTURING DEFECT
   41. Plaintiff incorporate by reference paragraphs 1-32 of this Complaint as if fully set forth

       herein.

   42. The BOSTON SCIENTIFIC Obtryx product implanted in the Plaintiff was not reasonably

       safe for its intended use and was defective as a matter of law with respect to its

       manufacture.

   43. As a direct and proximate result of the BOSTON SCIENTIFIC Obtryx’s aforementioned

       defects, Plaintiff was caused and/or in the future will be caused to suffer severe personal

       injuries, pain, disability, suffering, severe emotional distress, financial or economic loss,

       including, but not limited to, obligations for medical services and expenses, lost income,

       and other damages.

       Wherefore, Plaintiff demands judgment against the Defendants for compensatory, treble


                                                 9
         Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 10 of 13



and punitive damages, including costs and attorney’s fees, and all such other relief as the Court

may deem proper.

                                          COUNT IV
                             STRICT LIABILITY – FAILURE TO WARN

   44. Plaintiff incorporates by reference paragraphs 1-32 of this Complaint as if fully set forth

       herein.

   45. The BOSTON SCIENTIFIC Obtryx product implanted in the Plaintiff was not reasonably

       safe for its intended use and was defective as a matter of law due to its lack of appropriate

       necessary warnings.

   46. As a direct and proximate result of the BOSTON SCIENTIFIC Obtryx’s aforementioned

       defects, Plaintiff was caused and/or in the future will be caused to suffer severe personal

       injuries, pain, disability, suffering, severe emotional distress, financial or economic loss,

       including, but not limited to, obligations for medical services and expenses, lost income,

       and other damages.

       WHEREFORE, Plaintiff demands judgment against the Defendants for compensatory,

treble and punitive damages, including costs and attorney’s fees, and all such other relief as the

Court may deem proper.

                                       COUNT V
                             BREACH OF EXPRESS WARRANTY

   47. Plaintiff incorporates by reference paragraph 1-32 of this Complaint as if fully set forth

       herein.




                                                10
         Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 11 of 13



   48. Defendants made assurances to the general public, hospitals and health care professionals

       that the BOSTON SCIENTIFIC Obtryx was safe and reasonably fit for its intended

       purpose.

   49. Plaintiff and/or her health care provider chose the BOSTON SCIENTIFIC Obtryx based

       upon Defendants’ warranties and representations regarding the safety and fitness of the

       BOSTON SCIENTIFIC Obtryx.

   50. Plaintiff, individually and/or by and through her physician, reasonably relied upon

       Defendants’ express warranties and guarantees that the BOSTON SCIENTIFIC Obtryx

       was safe, merchantable, and reasonably fit for its intended purpose.

   51. Defendants breached these express warranties because the BOSTON SCIENTIFIC Obtryx

       implanted in Plaintiff was unreasonably dangerous and defective and not as Defendants

       represented.

   52. Defendants’ breaches of its express warranties resulted in the implantation of an

       unreasonably dangerous and defective product in Plaintiff’s body, placing Plaintiff’s health

       and safety in jeopardy.

   53. As a direct and proximate result of Defendants’ breaches of the aforementioned express

       warranties, Plaintiff was caused and/or in the future will be caused to suffer severe personal

       injuries, pain, disability, suffering, severe emotional distress, financial or economic loss,

       including, but not limited to, obligations for medical services and expenses, lost income,

       and other damages.

WHEREFORE, Plaintiff demands judgment against the Defendants for compensatory, treble and

punitive damages, including costs and attorney’s fees, and all such other relief as the Court may

deem proper.



                                                11
     Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 12 of 13



                                       COUNT VI
                         BREACH OF IMPLIED WARRANTY
54. Plaintiff incorporates by reference paragraph 1-32 of this Complaint as if fully set forth

   herein.

55. Defendants impliedly warranted that the BOSTON SCIENTIFIC Obtryx was merchantable

   and was fit for the ordinary purpose for which it was intended.

56. When the BOSTON SCIENTIFIC Obtryx was implanted in Plaintiff to treat her for Stress

   Urinary Incontinence, Menorrhagia and other symptoms, it was being used for the ordinary

   purposes for which it was intended.

57. Plaintiff, individually and/or by and through her physician, relied upon Defendants’

   implied warranties of merchantability in consenting to have the BOSTON SCIENTIFIC

   Obtryx implanted in her.

58. Defendants breached these implied warranties of merchantability because the BOSTON

   SCIENTIFIC Obtryx product implanted in the Plaintiff was neither merchantable nor

   suited for its intended use as warranted.

59. Defendants’ breaches of its implied warranties resulted in the implantation of an

   unreasonably dangerous and defective product in Plaintiff’s body, placing Plaintiff’s health

   and safety in jeopardy.

60. As a direct and proximate result of Defendant’s breaches of the aforementioned implied

   warranties, Plaintiff was caused and/or in the future will be caused to suffer severe personal

   injuries, pain, disability, suffering, severe emotional distress, financial or economic loss,

   including, but not limited to, obligations for medical services and expenses, lost income,

   and other damages.

WHEREFORE, Plaintiff demands judgment against the Defendants for compensatory, treble

                                               12
         Case 7:19-cv-00411-LSC Document 1 Filed 03/08/19 Page 13 of 13



and punitive damages, including costs and attorney’s fees, and all such other relief as the Court

may deem proper.

Plaintiffs Demand a Jury Trial on all issues.




Dated: March 8, 2019,                                RESPECTFULLY SUBMITTED,

                                                     /s/ William L. Bross
                                                     William L. Bross (ASB-9703-o71w)
                                                     HENINGER GARRISON DAVIS, LLC
                                                     2224 First Avenue North
                                                     Birmingham, AL 35203
                                                     Telephone: (205) 326-3336
                                                     Facsimile: (205) 380-8072
                                                     william@hgdlawfirm.com

                                                     Attorney for Plaintiff

                                                     /s/ Edward A. Wallace
                                                     Edward A. Wallace
                                                     Timothy E. Jackson
                                                     WEXLER WALLACE LLP
                                                     55 West Monroe St., Suite 3300
                                                     Chicago, IL 60603
                                                     Tel: (312) 346-2222
                                                     Fax: (312) 346-0022
                                                     eaw@wexlerwallace.com
                                                     tej@wexlerwallace.com


                                                     Attorneys for Plaintiff
                                                     Pro Hac Vice Forthcoming




                                                13
